Case 08-14631-GMB         Doc 365    Filed 06/09/08 Entered 06/09/08 15:56:18         Desc Main
                                    Document     Page 1 of 2



 DRINKER BIDDLE & REATH LLP
 One Logan Square
 18th and Cherry Streets
 Philadelphia, Pennsylvania 19103
 (215) 988-2700
 Bonnie A. Barnett (BB 1196)
 Deborah L. Shuff (DS 9470)
 David B. Aaronson (DA 8387)
 Attorneys for Generator Defendants
 Devoe Coatings, Inc., Georgia-Pacific Corp., and
 Sears Holding Management Corp.

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
                                 (CAMDEN VICINAGE)

 In re:                                             (Hon. Gloria M. Burns)

 Shapes/Arch Holdings L.L.C.,                       Chapter 11
 Shapes L.L.C., Delair L.L.C., Accu-Weld
 L.L.C., and Ultra L.L.C.                           Lead Case No. 08-14631 (GMB)
                                                         (Jointly Administered)
                Debtors
                                                    Hearing Date: July 1, 2008 at 10:00 a.m.



   NOTICE OF MOTION OF CERTAIN DIRECT GENERATOR DEFENDANTS FOR
  RELIEF FROM AUTOMATIC STAY TO PERMIT DISMISSAL OF DEBTORS FROM
                        JOINT DEFENSE GROUP

          PLEASE TAKE NOTICE that Certain Direct Generator Defendants by and through their

 counsel, Archer & Greiner, P.C.; Dewey & LeBoeuf LLP and Norris, McLaughlin & Marcus, P.A.

 (as local counsel); Conrad O'Brien Gellman & Rohn, P.C.; Shook Hardy & Bacon, LLP and Wolff

 & Samson PC (as local counsel); Drinker Biddle & Reath LLP, Latham & Watkins, LLP; Saul

 Ewing LLP and Sachs, Maitlin, Fleming & Greene, have filed a motion seeking entry of an Order

 granting relief from the automatic stay provisions of 11 U.S.C §362(a) to permit dismissal of

 Debtors from a Joint Defense Group in a case captioned Pennsauken Solid Waste Management

 Authority and Township of Pennsauken, et al. v. Ward Sand & Materials, Inc., et al., Docket No.
Case 08-14631-GMB        Doc 365     Filed 06/09/08 Entered 06/09/08 15:56:18          Desc Main
                                    Document     Page 2 of 2



 CAM-L-13345-91 and Docket No. CAM-L-13345-93 (the “Pennsauken Action”) (the

 “Motion”).

        Your rights may be affected. You should read these papers carefully and discuss

 them with your attorney, if you have one in this case. (If you do not have an attorney, you

 may wish to consult one.)

        If you do not want the Court to grant the relief requested by the Movant, or if you want

 the Court to consider your views on the Motion, then on or before June 24, 2008, you or your

 attorney must:

        File with the Court an answer explaining your position at: Clerk, U.S. Bankruptcy Court,

 400 Cooper Avenue, Camden, New Jersey 08101. If you mail your response to the Court for

 filing, you must mail it early enough so the Court will receive it on or before the date stated

 above. You must also mail a copy to: Deborah L. Shuff, Drinker Biddle & Reath LLP, One

 Logan Square, 18th & Cherry Streets, Philadelphia, PA 19103; and

        Attend a hearing scheduled to be held on July 1, 2008, at 10:00 a.m. in Courtroom 4C,

 United States Bankruptcy Court, 400 Cooper Avenue, 4th Floor, Camden, New Jersey 08101.

        If you or your attorney do not take these steps, the Court may decide that you do not

 oppose the relief sought in the Motion and may enter an order granting that relief.

                                              DRINKER BIDDLE & REATH LLP


 Dated: June 9, 2008                          By: David B. Aaronson
                                                  David B. Aaronson
